
Appeal by the defendant from a judgment of the County Court, Suffolk County (Gazzillo, J.), rendered April 24, 2008, convicting him of burglary in the first degree, upon his plea of guilty, and imposing sentence.
Ordered that the judgment is affirmed.
We have reviewed the record and agree with the defendant’s *1030assigned counsel that there are no nonfrivolous issues which could be raised on appeal. Counsel’s application for leave to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Paige, 54 AD2d 631 [1976]; cf. People v Gonzalez, 47 NY2d 606 [1979]). Skelos, J.P., Santucci, Angiolillo, Hall and Roman, JJ, concur.
